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In the United States Pistrict court
Fov the Southern Pistrict of Texas
Hou Shon Divjicion

‘United States Courts
Southern District of Texas

FILED

JUN 2.4 2024
Staurities and exchange

Omission,

Nathan Ochsner, Clerk of Court

Plante,
VS.

Mauricio Chaveé | Gior gic
Benvenyto and OrypryFKx, UC ,

| would like 1 file notice +o add the Frllowi ha
to the suit . Ewa. # webolia b Eliberh Relowllar and
Citlall) Rubollar - Ravirre .

for further Information /avesHons Contect
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